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UNlTED STATES DISTRICT COURT
DISTRICT OF l\/IARYLAND
BALTll\/IORE DlVlSlON

KIRAN KUl\/IAR NALLAGONDA, Case No. l:lS-cv-03562-PX
Plaintiff, ORDER GRANTING
FINAL APPROVAL OF CLASS ACTION
V- SETTLEMENT AND ENTERING FINAL
JUDGMENT AND ORDER OF
OSIRIS THERAPEUTICS, INC.., er al., DlSl\/]]SSAL WlTH PREJU[)[CE
Defendant`s.

 

 

This matter came before the Court for hearing pursuant to the Order Preliminarily
Approving Settlement and Providing for Notice ("‘Notice Order”) dated September 4, 2018, and
on Lead Plaintiff"s Unopposed Motion in Support of Final Approval of Class Action Settlement
dated December 20, 201 8 in the above-captioned action. Due and adequate notice having been
given to the Class as required in said Order, and the Court having considered all papers filed and
proceedings conducted herein, having found the settlement of this action to be fair, reasonable
and adequate and otherwise being fully informed in the premises and good cause appearing
therefor,

IT lS HEREBY ORDERED, ADJUDGED AND DECREED that:

l. All ofthe capitalized terms used herein shall have the same meanings as set forth
in the Stipulation and Set‘tlement Agreement dated .lune | l, 2018 (ECF No. 94-7) (the
“Stipulation and Settlement Agreement"’), and filed With the Court.

2. This Court has jurisdiction over the subject matter ofthis application and all
matters relating thereto, including all members of the Class Who have not timely and validly

requested exclusion.

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3. Pursuant to Rule 23 ofthe Federal Rules ofCivil Procedure, the Court finally
certifies the following Class:

All persons other than Defendants who purchased or otherwise acquired 0siris
securities between l\/lay 12, 2014 and November 16, 2015.

Excluded from the C|ass are anyjudicial officer hearing the case, Defendants, the officers
and directors ofOsiris, at all relevant times, members of their immediate families and their legal
representatives, heirs, successors or assigns and any entity in which Defendants have or had a
controlling interest Also excluded from the Class are those Persons who timely and validly
requested exclusion from the Class before the opt-out deadline

4. Pursuant to Rule 23 ofthe Federal Ru|es ofCivil Procedure, and solely for
purposes ofthis Settlement, the Court finds that the prerequisites fora class action under Rules
23(a) and 23(b)(3) ofthe Federal Rules ofCivil Procedure have been satisfied in that (a) the size
ofthe Class is so numerous that it would be impracticable to join all Class Members as
individual parties; (b) the claims of Lead Plaintiff are typical ofthe claims ofthe members ofthe
Class; (c) there are questions of law and fact common to the Class which predominate over any
individual question; (d) Lead Plaintiff` and Class Counsei have fairly and adequately represented
the interests ofthe Class; and (e) a class action is the superior method for resolving the disputes
between the parties.

5. The Court grants the l\/Iotion for Final Approval of the Settlement and fully and
finally approves the Stipulation and Settlement Agreement, hereby incorporating into this Order
and Final Judgment the Stipulation and Settlement Agreement, and finding its terms to be fair_,
reasonable, and adequate under Fed. R. Civ. P. 23 as to the Class and as to the Settling Parties,

and directing its consummation pursuant to its terms and conditions

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6. The Stipulation and Settlement Agreement and the Final Approval Order and
Judgment are binding upon_, and have resjudicata and preclusive effect in, all pending and future
lawsuits or other proceedings encompassed by the Reieased Clairns maintained by or on behalf
of the Releasors;

7. The Court finds that the notice given to the Class l\/fembers pursuant to the Notice
Plan (i) constituted the best notice practicable under the circumstances; {ii) constituted notice
that was reasonably calculated under the circumstances to apprise Class l\/lembers of the
pendency ofthe Action, of their right to object to or exclude themselves from the proposed
Settlement as applicable, of their right to appear at the final approval hearing, and oftheir right
to seek relief; (iii) constituted reasonable, due. adequate, and sufficient notice to all persons
entitled to receive notice; and (iv) complies in all respects with the requirements of Fed. R. Civ.
P. 23, due process, and all other applicable law;

3. Class Counsel and the named Plaintiffs adequately represented the Class
Mernbers for purposes of entering into and implementing this Agreement and Settlement, and,
pursuant to Rule 23, the Court gives final appointment of counsel Hagens Berman Sobol Shapiro
LLP, and-Hirschler Fleischer_._ P.C. as Class Counsel in this matter.

9. The Court dismisses with prejudice all claims in this action and, except as
otherwise explicitly provided for in the Agreement, does so without costs awarded to either side;

10. The Court discharges and releases the Releasees from all Released Claims and
permanently bars and enjoins the institution and prosecution, by Releasors and/or any other
Person not otherwise excluded, of any and all ofthe Released Claims;

l 1. The Court approves the Opt~Out List and determines that the Opt-Out List is a
complete list of all Persons who have timely and validly requested exclusion from the Class, and

accordingly, who shall neither share in nor be bound by the Final Approval Order and Judgment;

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12. The Court determines that the Stipulation and Settlement Agreement and any
proceedings taken pursuant to it are not and should not in any event be offered or received as
evidence ofa presumption, concession, acknowledgment, or an admission of liability or of any
wrongdoing by Defendant or any Releasee or ofthe suitability ofthese or similar claims to class
treatment for litigation, trial, or any other purpose except settlement; provided_, however, that
reference may be made to this Agreement and the settlement in such proceedings as may be
necessary to effectuate the Agreement;

13. The Court reserves continuing and exclusivejurisdiction over the Settlement,
including all future proceedings, if any, concerning the administration, consummation, and
enforcement of this Agreement;

14. The Court authorizes the Settling Parties, without further approval from the Court,
to agree to and adopt such amendments, modifications, and expansions of this Agreement as
shall be consistent in all material respects with the Final Approval Order and .ludgment and not
limit the rights ofthe Settling Parties or Class l\/lembers; and containing such other and further
provisions consistent with the terms of this Agreement to which the Settling Parties expressly
consent in writingl

15. Accordingly, the Court authorizes and directs implementation of all the terms and
provisions ofthe Stipulation and Settlement Agreement, as well as the terms and provisions
hereof

16. The Court hereby approves the Plan of Allocation of the Settlement Fund as
proposed by Class Counsel (the “Plan ofAllocation"), which was summarized in the Notice of

Proposed Settlement and is attached to Lead Plaintiff"s Unopposed l\/lotion for Final Approval of

Settlement, and directs Epiq Class Action & Claims Solutions, Ine., the firm retained by Class

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Counsel as the Claims Administrator, to distribute the net Settlement Fund as provided in the
Plan of Allocation.

17. The Court hereby dismisses, as to Defendants, the Action and all Released Claims
ofthe Class with prejudice_, without costs as to any Settling Party, except as and to the extent
provided in the Stipulation and Settlement Agreement and herein.

18. Upon the Effective Date hereof, and as provided in the Stipulation and Settlement
Agreement, Lead Plaintiff shall, and each of the Class l\/lembers who have not validly opted out
ofthe Class on behalf of themselves, their predecessorsq successors, agents, representatives,
attorneys and affiliatesq and the heirs, executors, administrators1 successors, and assigns of each
ofthem shall be deemed to have_, and by operation of this Final Judgment shall have, fully_,
finally, and forever released, relinquished, and discharged all Released Claims against the
Released Persons, whether or not such Class l\/lember executes and delivers the Proof of Claim
and Release.

19. Upon the Effective Date. Lead Plaintiff and each ofthe Class l\/lembers who have
not validly opted out of the Class on behalf of themselves, their predecessors, successors, agents,
representatives, attorneys and affiliates_. and the heirs, executors, administrators5 successors, and
assigns of each ofthem shall be deemed to have, and by operation of this .ludgment shall have,
fully_, finally, and forever released. relinquished, and discharged against the Released Persons
(whether or not such Class l\/lembers execute and deliver the Proof of Claim and Release forms)
any and all Released Claims (including, without limitation, Unl<nown Claims), as well as any
claims arising out of, relating to, or in connection with, the defense_ settlement, or resolution of
the Action or the Released Claims.

20. Upon the Effective Date, lsead Plaintiffand the Class l\/lembers on behalf of

themselves, their current and former heirs, executors, administrators successors__ attorneys_, legal

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representatives and assigns1 shall be deemed to have, and by operation ofthis Judgment shall
have, expressly waived the benefits of (i) the provisions of§ l542 of the California Civil Code,
which provides that:

A GENERAL RELEASE DOES NOT EXTEND TO CLAll\/IS WHICH THE

CREDITOR DOES NOT KNOW OR SUSPECT TO EXlST lN HlS OR HER

FAVOR AT THE TIl\/IE OF EXECUTING THE RELEASE, WHICH lF KNOWN

BY l-IlI\/l OR HER MUST HAVE MATERIALLY AFFECTED HlS OR HER

SETTLEl\/IENT WlTH THE DEBTOR,
and (ii) any and all provisions, rights and benefits conferred by any law of any state or territory
ofthe United States or principle of`common law, which is similar, comparable or equivalent to
California Civil Code § 1542. Lead Plaintiff and Class l\/lembers may hereafter discover facts in
addition to or different from those which he, she or it now knows or believes to be true with
respect to the subject matter of the Released Claims, but Lead Plaintiff shall expressly. and Lead
Plaintiff and each C|ass Member on behalf ofthemse|ves, their current and former heirs,
executors, administrators, successors, attorneys1 legal representatives and assigns, upon the
Effective Date, shall be deemed to have, and by operation of this Judgment shall have, fully,
finally, and forever settled and released any and all Released C|aims, known or unknown,
suspected or unsuspected, contingent or non-contingent, matured or unmatured, foreseen or
unforeseen, whether class or individual in nature, whether concealed or hidden, which now exist,
or heretofore have existed, arising under United States federal, state, local, statutory, or common
law, or any other law, rule or regulation whether foreign or domestic, or upon any theory of law
or equity now existing or coming into existence in the future, including but not limited to,
conduct that is negligent, intentional, with or without malice, or a breach ofany duty, law, or

rule, without regard to the subsequent discovery or existence ofsuch different or additional facts.

Lead Plaintiff acknowledgeq and the Class l\/lembers shall be deemed by operation ofthis

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judgment to have acknowledged, that the foregoing waiver was separately bargained for and a
key element ofthe Settlement ofwhich this release is a part.

21 . Upon the Effective Date, each of the Released Persons shall be deemed to have,
and by operation ofthis Judgment shall have, fully, finally, and forever released, relinquished,
and discharged Lead Plaintiff, each and all of the Class Members, and Plaintitfs` Counsel from
all claims (including, without limitation, Unknown Claims) arising out of, relating to, or in
connection with, the institution, prosecutions assertion, settlement, or resolution ofthe Action or
the Released Claims.

22. Upon the Effective Date hereof, and as provided in the Stipulation and Settlement
Agreement, Lead Plaintiff and each of the Class l\/lernbers, and their heirs, executors,
administrators, successors, and assigns, shall also be deemed to have, and by operation of this
.ludgment shall have fully, finally, and forever released. relinquished, and discharged Defendants
and Defendants` counsel from all claims (including the Unknown Claims) arising out ofthe
defense, conduct, settlement, or resolution ofthe Action and the Released Claims.

23. Upon the Eff`ective Date, Lead Plaintiff and each of the Class l\/Iembers who have
not validly opted out ofthe Class shall be permanently barred and enjoined from the assertion,
institution, maintenance, prosecution, or enforcement against Defendants, or any Released
Persons, in any state or federal court or arbitral forum, or in the court of any foreign jurisdiction,
of any and all Released Claims (including. without limitation, Unknown Claims), as well as any
claims arising out of, relating to_. or in connection with, the defense, settlement, or resolution of
the Action or the Released Claims.

24. The distribution of the Notice of Pendency and Proposed Settlement of Class
Action and the publication ofthe Summary Notice as provided for in the l\lotice Order

constituted the best notice practicable under the eircum stances, including individual notice to all

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members ofthe Class who could be identified through reasonable effort. Said notice provided
the best notice practicable under the circumstances of those proceedings and of the matters set
forth therein. including the Settlement set forth in the Stipulation and Settlement Agreement, to
all Persons entitled to such notice, and said notice fully satisfied the requirements of Federal
Rule of Civil Procedure 23, §21 D(a)('/') ofthe Securities Exchange Act of l934,15 U.S.C. §78u-
4(_a)(7) as amended by the Private Securities lsitigation Reform Act of 1995, due process and any
other applicable law.

25. Any plan of distribution submitted by Class Counsel or any order entered
regarding any attorneys’ fee and expense application shall in no way disturb or affect this
judgment and shall be considered separate from this Judgment.

26. Neither the Stipulation and Settlement Agreement nor the Settlement, nor any act
performed or document executed pursuant to or in furtherance of the Stipulation and Settlement
Agreement or the Settlement (a) is or may be deemed to be or may be used as an admission of, or
evidence of, the validity of any Released Claim, or of any wrongdoing or liability ofthe
Released Persons; or (b) is or may be deemed to be or may be used as an admission of, or
evidence of, any fault or omission of any of the Released Persons; or (c) is or may be deemed to
be or may be used as an admission or evidence that any claims asserted by Lead Plaintiff were
not valid or that the amount recoverable was not greater than the Settlement amount, in any civil,
criminal, or administrative proceeding in any court, administrative agency, or other tribunal.

The Released Persons may file the Stipulation and Settlement Agreement and/or the Judgment in
any action that may be brought against them in order to support a defense or counterclaim based
on principles Of res judicata, collateral estoppel, release, good faith settlement, judgment bar or
reduction, or any other theory ofclaim preclusion or issue preclusion or similar defense or

counterclaim

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2?. Without affecting the finality ofthis Judgment in any way, this Court hereby
retains continuing exclusive jurisdiction over: (a) implementation of this Settlement and any
award or distribution of the Settlement Fund, including interest earned thereon; (b) disposition of
the Settlement Fund; (c) hearing and determining applications for attorneys’ fees, interest, and
expenses in the Action; and (d) all Settling Parties hereto for the purpose ofconstruing,
enforcing, and administering the Stipulation and Settlement Agreement.

28. The Court finds that during the course ofthe Action, the Settling Parties and their
respective counsel at all times complied with the requirements of Federal Rule of Civil
Procedure l l.

29. ln the event that the Settlement does not become effective in accordance with the
terms of the Stipulation and Settlement Agreement1 or the Effective Date does not occur, or in
the event that the Settlement Fund, or any portion thereof, is returned to Defendants__ then this
Judgment shall be rendered null and void to the extent provided by and in accordance with the
Stipulation and Settlement Agreement and shall be vacated and, in such event, all orders entered
and releases delivered in connection herewith shall be null and void to the extent provided by
and in accordance with the Stipulation and Settlement Agreement.

30. Without further order of the Court, the Settling Parties may agree to reasonable
extensions of time to carry out any of the provisions ofthe Stipulation and Settlement

Agreemenl.

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31. The Court directs immediate entry ofthis Final ludgment by the Clerk of the
Court.

lT IS SO ORDERED.

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